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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH DAKOTA
                           NORTHERN DIVISION


 RICHARD B. KENDERDINE, Special               CIVIL ACTION NO.: 1:20-cv-1030
 Administrator of the
 ESTATE OF VIVIAN C.
 KENDERDINE, DECEASED,

              Plaintiff,                              COMPLAINT
                                               AND DEMAND FOR JURY TRIAL
 vs.

 ROSLYN ELEVATOR AND
 MARCIA R. SCHMIDT,

              Defendants.


       COMES NOW Plaintiff, Richard B. Kenderdine, as Special Administrator of the

Estate of Vivian C. Kenderdine, Deceased, by and through his attorneys of record, and

for his causes of action against Defendants Roslyn Elevator and Marcia R. Schmidt,

state and allege as follows:

                                   THE PARTIES

       1.    Plaintiff Richard B. Kenderdine (hereinafter “R. Kenderdine”) was

appointed Special Administrator of the Estate of Vivian C. Kenderdine by the Third

Judicial Circuit Court, Codington County, South Dakota, on October 2, 2020, Estate

of Vivian C. Kenderdine, Pro. #20-45. R. Kenderdine was the husband of decedent,

Vivian C. Kenderdine (hereinafter “Vivian”) and is a resident of Manitoba, Canada.

R. Kenderdine asserts claims on behalf of Vivian, her estate and her heirs.

       2.    Vivian was born on August 11, 1951 and died from injuries sustained in

the collision that is the subject of this lawsuit on June 11, 2019.
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      3.     Vivian was a resident of Manitoba, Canada. She was married to R.

Kenderdine and has three surviving children, Tara-Leigh Adele Nield, Quinn

Campbell Kenderdine, and Richard Thomas Dalton Kenderdine.

      4.     Defendant Roslyn Elevator is a corporation organized and existing

pursuant to the laws of the State of South Dakota, with its principal place of

business in Roslyn, Day County, South Dakota. It operates as a grain elevator.

      5.     Defendant Marcia R. Schmidt (hereinafter “Schmidt”) was at all times

material hereto a resident of Roslyn, Day County, South Dakota, and was an

employee and principal officer of Roslyn Elevator.

                                  JURISDICTION

      6.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 in

that Plaintiff’s residency is diverse from that of all Defendants. Further, the

damages amount at issue in this case exceeds $75,000.

                                       FACTS

      7.     On June 11, 2019, at approximately 10:57 a.m., Defendant Schmidt

was traveling southbound on Interstate 29 (hereinafter “I-29”) north of Watertown,

Codington County, South Dakota.

      8.     Defendant Schmidt was operating a white 2016 Ford F150, bearing

South Dakota license plate 22E541.

      9.     The vehicle Schmidt was driving was owned by Defendant Roslyn

Elevator. Schmidt was an agent of Roslyn Elevator and was authorized by Roslyn




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Elevator to operate the vehicle on June 11, 2019 at the time and place of the

collision.

       10.   Schmidt was driving her vehicle with the cruise control set at 82 mph.

       11.   The speed limit on I-29 where Schmidt was driving was 80 mph.

       12.   On the morning of June 11, 2019, Vivian was also traveling

southbound on I-29 north of Watertown, Codington County, South Dakota.

       13.   Vivian was driving a purple 2008 Harley Davidson motorcycle, bearing

Manitoba license 9CB07.

       14.   Vivian and her two friends on their own motorcycles were traveling

from Aberdeen, Brown County, South Dakota to Topeka, Shawnee County, Kansas

for an all-woman motorcycle rally.

       15.   On the morning of June 11, 2019, at the location of the crash scene, the

temperature was 61 degrees Fahrenheit with an overcast and cloudy sky and

visibility was ten miles.

       16.   While traveling southbound on I-29, at approximately 10:49 a.m.,

Vivian and her two friends stopped on the far-right side of the shoulder of I-29

under the 161st Street bridge overpass for several minutes.

       17.   A few minutes after stopping, Vivian and her two friends checked for

traffic, signaled their intent to merge onto the roadway and drove their motorcycles

from the shoulder into the driving lane.

       18.   Shortly after entering the roadway, Vivian was struck from behind by

Schmidt.



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       19.    The impact violently separated Vivian from her motorcycle. Vivian

came to rest in the median of I-29, where she eventually succumbed to the injuries

received in the collision.

       20.    Schmidt said she did not see Vivian or her two friends prior to impact

and did not perceive any of the three motorcycles ahead of her on the roadway.

       21.    Nothing prevented Schmidt from seeing Vivian and her friends, had

she been keeping a proper lookout for traffic.

       22.    The southbound passing lane of I-29 where the collision occurred was

clear of traffic and nothing prevented Schmidt from moving into that lane to avoid

the impact.

       23.    In driving carelessly, following too closely, failing to move over when

overtaking Vivian’s motorcycle and in speeding, Schmidt was in violation of SDCL

§§ 32-24-8, 32-26-40, 36-26-26, and 32-25-4, respectively.

                                   COUNT 1
                                WRONGFUL DEATH

       24.    Plaintiff realleges all preceding paragraphs as if set forth herein.

       25.    Vivian sustained violent and catastrophic injuries as a result of the

reckless and negligent actions of Defendant Schmidt, which resulted in the death of

Vivian.

       26.    The negligence of Defendant Schmidt was the direct and proximate

cause of the death of Vivian.

       27.    Defendant Schmidt’s actions as described in this complaint were the

legal cause of the substantial injuries and damages to Vivian and her heirs,


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including, but not limited to, pain, suffering, mental anguish, wrongful death,

funeral expenses, the loss of love, support, aide, counsel, society, companionship,

guidance, services, loss of income and property damage in an amount to be proven

at trial.

                                   COUNT 2
                               SURVIVAL ACTION

       28.   Plaintiff realleges all preceding paragraphs as if set forth herein.

       29.   Vivian did not die immediately as a result of the impact with

Defendant Schmidt’s vehicle. Vivian experienced terror and anguish in the sudden

apprehension of imminent death and excruciating conscious pain and suffering.

Defendant Schmidt is liable for all resulting conscious pain and suffering suffered

by Vivian prior to her death pursuant to SDCL 15-4-1.

                               COUNT 3
                     RESPONDEAT SUPERIOR LIABILITY

       30.   Plaintiff realleges all preceding paragraphs as if set forth herein.

       31.   At the time of the collision, Defendant Schmidt was acting within the

course and scope of her employment with Defendant Roslyn Elevator, and was an

agent of Roslyn Elevator.

       32.   It was foreseeable to Roslyn Elevator that Schmidt could be involved

in, and cause, a collision while driving the vehicle owned by Roslyn Elevator.

       33.   As a result of Schmidt’s relationship with Roslyn Elevator, Roslyn

Elevator is responsible for all harms and losses legally caused by Schmidt’s

negligent actions.



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   WHEREFORE, Plaintiff requests a judgment against Defendants as follows:

   1.    For compensatory and general damages in an amount which the jury
         determines is just and proper;

   2.    For special and economic damages in an amount which the jury
         determines is just and proper;

   3.    For Plaintiff’s costs and disbursements herein;

   4.    For interest as provided by law; and

   5.    For any other and future relief which the Court determines is just and
         proper.


   Dated this 19th day of November 2020.



                                           /s/ William D. Sims
                                           William D. Sims
                                           Jeff Cole
                                           NORTHERN PLAINS JUSTICE, LLP
                                           4301 W. 57th Street, Suite 121
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                                           E: Bill@northernplainsjustice.com
                                              JCole@northernplainsjustice.com
                                           Attorneys for Plaintiff




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                    PLAINTIFF DEMANDS TRIAL BY JURY


      Comes now Plaintiff, Richard B. Kenderdine, as Special Administrator of the

Estate of Vivian C. Kenderdine, Deceased, by and through one of his attorneys of

record, and hereby demands a trial by jury on all issues triable of right by jury.



                                               /s/ William D. Sims
                                               One of the attorneys for Plaintiff




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JS 44 (Rev. 02/19)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Richard B. Kenderdine, Special Administrator of the Estate of Vivian C.                                     Roslyn Elevator and Marcia R. Schmidt
Kenderdine, Deceased
    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant              Day
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
William D. Sims and Jeff Cole
Northern Plains Justice, LLC
4301 W. 57th Street, Suite 121, Sioux Falls, SD 57108 (605) 306-4100

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 485 Telephone Consumer
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)                 Protection Act
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))         ’ 490 Cable/Sat TV
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 850 Securities/Commodities/
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))                     Exchange
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     ’ 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 893 Environmental Matters
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 895 Freedom of Information
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party            ’ 896 Arbitration
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 899 Administrative Procedure
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                             Act/Review or Appeal of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       ’ 462 Naturalization Application                                     ’ 950 Constitutionality of
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                                    State Statutes
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Wrongful Death
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
11/19/2020                                                              /s/ William D. Sims
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
